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                                               February 24, 2022

                                                                                      Via ECF and Email

 Honorable Michael B. Kaplan
 Chief United States Bankruptcy Judge
 United States Bankruptcy Court
 Clarkson S. Fisher US Courthouse
 402 East State Street
 Trenton, NJ 08608

         Re:     LTL Management LLC
                 Case no. 21-30589 MBK

 Dear Judge Kaplan:

         We write, on behalf of TCC I, in response to correspondence filed by counsel for the Debtor at
 docket #1562.

         We are disappointed, but unfortunately not surprised, that Mr. Gordon has failed to inform Your
 Honor that, less than two months ago, he took the exact opposite position with regard to the appointment
 of an examiner, in response to the motion of the United States Trustee. The U.S. Trustee’s examiner motion
 was withdrawn at the suggestion of the Court.

          Attached hereto is Mr. Gordon’s letter to the Court dated December 29, 2021 [docket #1002], in
 which he states “the appointment of an examiner is neither necessary nor appropriate”. In his December
 29th letter, Mr. Gordon continues “for these reasons and others, the appointment of an examiner would be
 duplicative and wasteful and would only delay the case.”

         Mr. Gordon was (and remains) correct in his December 29th letter with respect to the appointment
 of an examiner and is absolutely wrong in his curious new position on the issue, which should be seen and
 understood for what it is, yet another “litigation tactic” by the Debtor.
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 Honorable Michael B. Kaplan
 LTL Management, LLC
 February 24, 2022
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          We thank the Court for its consideration of the within correspondence.

                                                          Respectfully yours,

                                                          GENOVA BURNS LLC


                                                          DANIEL M. STOLZ
 DMS:lld

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